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ASSSISTED LIVING & MEMORY CLARE

 

October 13, 2021

Subject: Character Reference Letter on Thomas Sibick

Respected Authorities,

|, Russell R. Sparling and writing this letter to provide a character reference about Tomas Sibick for who |
have known as a friend and colleague for a period of 4 years. | provide this reference with full
knowledge of Thomas Sibick’s charges pertaining to the Capital Incident. | am Currently a Regional HR
Director and a Retired U.S. Army Veteran with 28 Years of Active-Duty Service.

| met Thomas through work at the Niagara Rehabilitation & Nursing center which is a rehab facility and
nursing home. | was the Human Resources Director and Thomas was hired while | was there for the
business office. Thomas is a person of good character, while working together at Niagara Rehab we
would work on improving the facility for the residents and always discuss how to improve and
implement chance within the facility to improve the quality of life for the residents. | have never seen
Thomas anything other then being kind, warm hearted and compassionate to the residents. | have seen
Thomas go out of his way to assist people and help in any way he could within reason. | have never seen
or herd about Thomas being violate in any way toward a resident or employee.

| have also developed a friendship outside of Niagara Rehab. Thomas has been to events and functions
with myself and my family. | would Talk with Thomas about how he got to where he was and how he
overcame adversity to focus him in moving forward to a bright future. He always had a bright outlook on
his future.

It is my sincere hope that the court takes this letter into consideration. Despite the current case which |
believe was a modernity lapse of judgement. | still believe Thomas Sibick to be an honorable individual,
a valuable member to our community and a good human Being.

    

ussell R. Sparling
Regional Human Resource Director

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